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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

   SOMAXON PHARMACEUTICALS, INC.,                        )
   and PROCOM ONE INC.,                                  )
                                                         )       C.A. No. 10-1100-RGA-MPT
                  Plaintiffs,                            )
                                                         )
          v.                                             )
                                                         )
   ACTAVIS ELIZABETH LLC et al.,                         )
                                                         )
                  Defendants.                            )

                           STIPULATION AND [PROPOSED] ORDER

         WHEREAS Plaintiffs/Counter-Defendants Somaxon Pharmaceuticals Inc. and Non-

  Parties Currax Pharmaceuticals LLC, Currax Holdings LLC, and Currax Holdings USA LLC

  (collectively “Currax”) and Defendants Mylan Inc. and Mylan Pharmaceuticals Inc. (collectively

  “Mylan”) are engaged in settlement negotiations and have reached an agreement in principle to

  resolve all remaining claims in this action and wish to preserve the status quo;

         IT IS THEREFORE HEREBY STIPULATED AND AGREED, by the parties and subject

  to the approval of the Court, that all deadlines in this case are stayed up to and including September

  6, 2022, to allow the parties to finalize the settlement agreement and file dismissal papers.


  Dated: August 5, 2022

   MORRIS, NICHOLS, ARSHT                             PHILLIPS, MCLAUGHLIN & HALL, P.A.
   & TUNNELL LLP

   /s/ Anthony D. Raucci                              /s/ Megan C. Haney
                                                      ___________________________
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  IT IS SO ORDERED this              day of _________, 2022.

                                                  ____________________________________
                                                  The Honorable Richard G. Andrews
                                                  United States District Judge




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